 Case 16-12245-BFK            Doc 92 Filed 11/22/18 Entered 11/23/18 00:42:00                         Desc Imaged
                                   Certificate of Notice Page 1 of 3
                                       United States Bankruptcy Court
                                             Eastern District of Virginia
                                                 Alexandria Division
                                             200 South Washington Street
                                                Alexandria, VA 22314


                                                             Case Number 16−12245−BFK

                                                             Chapter 7

In re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):

   Roger Maldonado                                          Leslie Yessenia Maldonado
   1909 Pohick Creek Court                                  1909 Pohick Creek Court
   Woodbridge, VA 22192                                     Woodbridge, VA 22192
Last four digits of Social−Security or Individual Taxpayer−Identification (ITIN) No(s).,(if any):
   Debtor: xxx−xx−7937                                     Joint Debtor: xxx−xx−3127
Employer Tax−Identification (EIN) No(s).(if any):
  Debtor: NA                                                Joint Debtor: NA


                                                   Order to Debtor


An order for relief having been entered herein pursuant to Title 11 U.S.C. Chapter 7 upon a petition filed by you in
the United States Bankruptcy Court; it is ORDERED that,
You shall safely care for, protect and preserve all of your property.
You shall not sell, refinance, transfer, remove, destroy, mutilate or conceal any of your property, and you shall make
all or any part thereof available to the trustee, when requested to do so.
You shall not turn over any of your property to any creditor or party in interest without the bankruptcy Trustee's
knowledge and consent, unless so ordered by the United States Bankruptcy Court.
You shall preserve all recorded information, including books, documents, records and papers, from which your
financial condition or business transactions might be ascertained and make the same available to the United States
Bankruptcy Court and/ or the Trustee when requested to do so.
You shall cooperate with the Trustee as is necessary to enable the Trustee to perform the Trustee's duties as required
by law.
You shall make available and turn over to the Trustee any property that you acquire or become entitled to acquire
within 180 days after the date of the filing of your bankruptcy petition, if such property or your rights to acquire such
property is by bequest, devise or inheritance; or by the terms or provisions of a property settlement agreement with
your spouse or by any divorce decree; or as a beneficiary of a life insurance policy or of a death benefit plan.
At least 7 days before the first scheduled meeting of creditors, you shall provide to the trustee: (A) a copy of your
federal tax return, including any attachments, for the most recent tax year ending immediately before your petition
filing date and for which a return was filed, a transcript of such tax return, or a written statement that the
documentation does not exist; and (B) all payment advices or other evidence of payment received within 60 days
before the petition filing date from your employer. Not later than the meeting of creditors, you also shall provide to
the trustee: statements for each of your depository and investments accounts, including checking, savings, money
market, mutual funds, and brokerage accounts, for the period that includes your petition filing date, or a written
statement that the documentation either does not exist or is not in your possession. The Court may dismiss your case
if such documentation is not provided.
You shall personally appear at a meeting of creditors on the date and time and at the place set by the U. S. Trustee as
set forth in a notice which you have or will soon receive. That meeting may be adjourned and subsequently
reconvened by the Trustee and, if so, you shall appear on the date and time scheduled.
At the Trustee's request, you shall make all reasonable efforts to provide the Trustee with your homestead deed, if
any, and any and all deeds to real property, as well as documentation evidencing the liens on all of your encumbered
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assets and any other documentation requested by the Trustee. You shall promptly file any and all necessary
amendments, modifications or clarifications to any schedules or statements as requested by the Trustee.
Before your case is closed, you shall immediately advise the Court and the Trustee, in writing, of any change of your
address. You are advised that it is your responsibility to review any returned mail which needs a corrected address.
You shall obey all orders of the United States Bankruptcy Court and your responsibility for doing so does not cease
even after a discharge is granted. The discharge does not conclude your bankruptcy case. A discharge may be
revoked, for cause.
Dated: November 20, 2018                                   For the Court,


[ VAN006v2015.jsp]                                         William C. Redden, Clerk
                                                           United States Bankruptcy Court



                                            ATTENTION DEBTORS:

                 Receive your court notices and orders by mail through the DeBN program.
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    For more information and to download the request form, go to www.vaeb.uscourts.gov and Select Click
                            here in the ATTENTION DEBTORS DeBN banner.
        Case 16-12245-BFK              Doc 92 Filed 11/22/18 Entered 11/23/18 00:42:00                               Desc Imaged
                                            Certificate of Notice Page 3 of 3
                                               United States Bankruptcy Court
                                               Eastern District of Virginia
In re:                                                                                                     Case No. 16-12245-BFK
Roger Maldonado                                                                                            Chapter 7
Leslie Yessenia Maldonado
         Debtors
                                                 CERTIFICATE OF NOTICE
District/off: 0422-9                  User: shepherda                    Page 1 of 1                          Date Rcvd: Nov 20, 2018
                                      Form ID: VAN006                    Total Noticed: 2


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Nov 22, 2018.
db            #+Roger Maldonado,   1909 Pohick Creek Court,   Woodbridge, VA 22192-2452
jdb            +Leslie Yessenia Maldonado,   1909 Pohick Creek Court,   Woodbridge, VA 22192-2452

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.

Addresses marked ’#’ were identified by the USPS National Change of Address system as requiring an update.
While the notice was still deliverable, the notice recipient was advised to update its address with the court
immediately.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Nov 22, 2018                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on November 20, 2018 at the address(es) listed below:
              Johnie Rush Muncy    on behalf of Creditor    MTGLQ Investors, L.P., jmuncy@siwpc.com,
               bjordan@siwpc.com;dsasser@siwpc.com;ewhite@siwpc.com;mfreeman@siwpc.com;npatel@siwpc.com;bkreferr
               als@siwpc.com;siwbkecf@siwpc.com;siwpc@ecf.courtdrive.com;siwattecf@siwpc.com
              Johnie Rush Muncy    on behalf of Creditor    Toyota Motor Credit Corporation jmuncy@siwpc.com,
               bjordan@siwpc.com;dsasser@siwpc.com;ewhite@siwpc.com;mfreeman@siwpc.com;npatel@siwpc.com;bkreferr
               als@siwpc.com;siwbkecf@siwpc.com;siwpc@ecf.courtdrive.com;siwattecf@siwpc.com
              Kevin R. McCarthy    krm@mccarthywhite.com, kmccarthy@remote7solutions.com;DC07@ecfcbis.com
              Martin C. Conway   on behalf of Debtor Roger Maldonado martin@conwaylegal.com,
               pwilmer@conwaylegal.com;r63077@notify.bestcase.com;andrew@conwaylegal.com
              Martin C. Conway   on behalf of Joint Debtor Leslie Yessenia Maldonado martin@conwaylegal.com,
               pwilmer@conwaylegal.com;r63077@notify.bestcase.com;andrew@conwaylegal.com
              Michael Todd Freeman    on behalf of Creditor    Toyota Motor Credit Corporation mfreeman@siwpc.com,
               bjordan@siwpc.com;dsasser@siwpc.com;ewhite@siwpc.com;jmuncy@siwpc.com;npatel@siwpc.com;bkreferral
               s@siwpc.com;siwbkecf@siwpc.com;siwpc@ecf.courtdrive.com;siwattecf@siwpc.com
              Michelle Rene Ghidotti-Gonsalves    on behalf of Creditor    U.S. Bank Trust National Association
               as Trustee of Tiki Series III Trust ECFNotifications@ghidottilaw.com
              Nisha Ryan Patel   on behalf of Creditor    MTGLQ Investors, L.P., npatel@siwpc.com,
               bjordan@siwpc.com;dsasser@siwpc.com;ewhite@siwpc.com;jmuncy@siwpc.com;mfreeman@siwpc.com;bkreferr
               als@siwpc.com;siwbkecf@siwpc.com;siwpc@ecf.courtdrive.com;siwattecf@siwpc.com
              Nisha Ryan Patel   on behalf of Creditor    Toyota Motor Credit Corporation npatel@siwpc.com,
               bjordan@siwpc.com;dsasser@siwpc.com;ewhite@siwpc.com;jmuncy@siwpc.com;mfreeman@siwpc.com;bkreferr
               als@siwpc.com;siwbkecf@siwpc.com;siwpc@ecf.courtdrive.com;siwattecf@siwpc.com
              Thomas P. Gorman   ch13alex@gmail.com, tgorman26@gmail.com
                                                                                              TOTAL: 10
